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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:
                                                              Chapter 11
Pack Liquidating, LLC, et al.,1
                                                              Case No. 22-10797 (CTG)
                                                 Debtors.
                                                              (Jointly Administered)
Official Committee of Unsecured Creditors of
Pack Liquidating, LLC, et al., derivatively, on
behalf of the Debtors’ estates,
                                             Plaintiff,       Adv. No. See Exhibit “2”

vs.

Defendants Listed on Exhibit “2”,
                                             Defendant.
      ORDER ESTABLISHING STREAMLINED PROCEDURES GOVERNING
    ADVERSARY PROCEEDINGS WITH TOTAL IN CONTROVERSY GREATER
      THAN $75,000.00 BROUGHT BY PLAINTIFF PURSUANT TO SECTIONS
            502, 547, 548, 549 AND 550 OF THE BANKRUPTCY CODE

          Upon the Motion for Orders Establishing Streamlined Governing Adversary

Proceedings Brought by Plaintiff Pursuant to Sections 502, 547, 548, and 550 of the

Bankruptcy Code, (the “Procedures Motion”)2 filed by the Official Committee of

Unsecured Creditors (the “Committee” or “Plaintiff”) of Pack Liquidating, LLC, et al.,

derivatively, on behalf of the debtors and debtors-in-possession in the above-captioned

bankruptcy proceedings (collectively, the “Debtors”) in the above-captioned chapter 11

cases, by and through its counsel, for entry of a procedures order (the “Procedures Order”)

pursuant to sections 102(1) and 105(a) of title 11 of the United States Code (the



1
      The Debtors in these chapter 11 cases are: Pack Liquidating, LLC; GV Liquidating LLC; PM
      Liquidating, LLC; PP Liquidating, LLC; PV Liquidating, LLC; and AB Liquidating, LLC.
2
      Capitalized terms not otherwise defined herein shall have the same meaning ascribed to them as in the
      Procedures Motion.
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“Bankruptcy Code”), Rules 7016, 7026 and 9006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rules 7016-1, 7016-2, and 9019-5 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), establishing streamlined procedures governing

all adversary proceedings with total amount in controversy greater than $75,000.00 brought

by Plaintiff under sections 502, 547, 548, and 550 of the Bankruptcy Code, which are

identified in Exhibit 2 annexed hereto (each an “Avoidance Action,” collectively, the

“Avoidance Actions”); and this Court having jurisdiction to consider and determine the

Procedures Motion as a core proceeding in accordance with 28 U.S.C. §§ 157, 1331 and

1334; and any objections raised and heard at a hearing at which all parties were permitted

to present their arguments and contentions; and it appearing that the relief requested by the

Procedures Motion is necessary and in the best interests of the parties; and due notice of

the Procedures Motion having been provided; and it appearing that no other or further

notice of the Procedures Motion need be provided; and sufficient cause appearing therefor,

it is hereby:

        ORDERED, that the Procedures Motion be, and hereby is, granted in all respects;

and it is further

        ORDERED, the procedures governing all parties to the Avoidance Actions are as

follows:

A.      Effectiveness of the Procedures Order

        1.      This Procedures Order approving the Procedures Motion shall apply to all
                Defendants in the Avoidance Actions. To the extent a party is subject to this
                Procedures Order as well as the Procedures Order applicable to those cases
                with an amount in controversy less than or equal to $75,000.00 in
                connection with another Avoidance Action, the parties shall meet and
                confer to decide whether the actions should proceed under one procedures



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            order or the other. If an agreement cannot be reached, the parties may apply
            to the Court for a resolution.

     2.     This Order will not alter, affect, or modify the rights of Defendants to seek
            a jury trial or withdraw the reference, or otherwise move for a determination
            regarding whether the Court has authority to enter a final judgment, or make
            a report and recommendation, in an adversary proceeding under 28 U.S.C.
            § 157, and all such rights of the Defendants shall be preserved unless
            otherwise agreed to in a responsive pleading.

B.   Extensions to Answer or File Other Responsive Pleading to the Complaint

     3.     The time to file an answer or other responsive pleading to a complaint filed
            in an Avoidance Action shall be extended by 60 days such that an answer
            or other responsive pleading is due within 90 days after the issuance of the
            summons rather than 30 days after the issuance of the summons.

C.   Waiver of Requirement to Conduct Pretrial Conference

     4.     Federal Rule of Civil Procedure 16, made applicable herein pursuant to
            Bankruptcy Rule 7016 and Local Rules 7004-2 and 7016-1 (i.e., pretrial
            conferences), is hereby waived and not applicable with respect to the
            Avoidance Actions. Neither the Plaintiff nor any Defendant shall be
            required to appear at the initial pretrial conference, including any pretrial
            originally scheduled for November 16, 2023, or any subsequently scheduled
            pretrial conferences.

D.   Waiver of Requirement to Conduct Scheduling Conference

     5.     Federal Rule of Civil Procedure 26(f), made applicable herein pursuant to
            Bankruptcy Rule 7026 (mandatory meeting before scheduling conference/
            discovery plan), is hereby waived and is not applicable to the Avoidance
            Actions. Thus, the parties to the Avoidance Actions shall not be required
            to submit a written report as may otherwise be required under Federal Rule
            of Civil Procedure 26(f).

E.   Discovery, Mediation, and Dispositive Motion Schedule

     6.     The disclosures required under Federal Rule of Civil Procedure 26(a)(1), as
            incorporated by Bankruptcy Rule 7026 (the “Initial Disclosures”) shall be
            made by the later of 30 days after: (1) the date an answer to a complaint is
            filed in an Avoidance Action or (2) the Procedures Order is entered on the
            docket of this Court.

     7.     Except as set forth herein, all written interrogatories, document requests and
            requests for admission, if any, may be served upon the adverse party any
            time after the service of Initial Disclosures or in conjunction with the service
            of the Initial Disclosures. All written interrogatories, document requests and


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        requests for admission, if any, must be served upon the adverse party no
        later than January 31, 2024. Local Rule 7026-2(b)(ii) shall be modified to
        allow the counsel for Plaintiff and each Defendant serving the discovery
        request or response to be the custodian of such discovery material.

8.      The standard provisions of Federal Rule of Civil Procedure 33, made
        applicable herein pursuant to Bankruptcy Rule 7033, shall apply to the
        Avoidance Actions. Responses to interrogatories are due 60 days after
        service.

9.      The standard provisions of Federal Rule of Civil Procedure 34, made
        applicable herein pursuant to Bankruptcy Rule 7034, including F.R.C.P.
        34(b)(2)(E) regarding production of electronically stored information and
        Local Rule 7026-3, shall apply to the Avoidance Actions. Document
        production and responses to document requests are due 60 days after
        service.

10.     The standard provisions of Federal Rule of Civil Procedure 36, made
        applicable herein pursuant to Bankruptcy Rule 7036, shall apply to the
        Avoidance Actions. Responses to requests for admission are due 60 days
        after service.

11.     The parties to the Avoidance Actions shall have through and including April
        30, 2024 to complete non-expert written fact discovery, excluding
        depositions of fact witnesses.

12.     Should a discovery dispute arise, the complainant shall file with the Court
        a letter outlining said issues and forward a copy to chambers. Respondent
        must reply within two (2) business days. The letter, excluding exhibits, shall
        be no longer than two (2) pages. The Court shall then inform the parties if
        it will require a conference call or formal motion.

13.     Any open Avoidance Actions that have not been resolved and/or settled by
        April 30, 2024 (the “Remaining Avoidance Actions”), shall be referred to
        mediation. By mutual agreement of the parties to any Avoidance Action,
        mediation may be conducted prior to May 1, 2024.

14.     Between May 1, 2024 and May 15, 2024, Defendants in the Remaining
        Avoidance Actions shall choose a mediator from the list of proposed
        mediators (each a “Mediator,” collectively, the “Mediators”) qualified to
        handle these types of Avoidance Actions and listed on the Register of
        Mediators and Arbitrators Pursuant to Local Rule 9019-4 (the “Mediator
        List”), attached to the Procedures Motion as Exhibit D. Concurrently,
        Defendants in the Remaining Avoidance Actions shall notify Plaintiff’s
        counsel of the Defendant’s choice of Mediator by contacting Plaintiff’s
        counsel’s paralegal, Laurie N. Miskowiec, in writing, via email at
        lmiskowiec@askllp.com or via letter correspondence addressed to ASK



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        LLP, 2600 Eagan Woods Drive, Suite 400, St. Paul, MN 55121. If a
        Defendant in a Remaining Avoidance Action does not timely choose a
        Mediator from the Mediator List and notify Plaintiff’s counsel of the same,
        Plaintiff will assign such Remaining Avoidance Action to one of the
        Mediators from the Mediator List.

15.     Upon notification of such selection or assignment, the selected Mediator
        shall have an opportunity to run conflicts checks on the Defendant(s) and,
        in the event of a conflict, may abstain from the particular mediation.

16.     On May 16, 2024, Plaintiff, working with the Mediators, will commence
        scheduling mediations. Each Mediator will provide to Plaintiff the dates on
        which the Mediator is available for mediation and the parties shall cooperate
        with the Mediators and each other regarding the scheduling of mediations.
        Plaintiff’s counsel shall contact Defendant or Defendant’s counsel with a
        list of proposed dates for mediation provided by the mediator. Mediation
        will then be scheduled on a first-come, first-served basis.

17.     Plaintiff will give at least 21 days’ written notice of the first date, time and
        place of the mediation in each Remaining Avoidance Action (the
        “Mediation Notice”), which notice shall be filed on the docket of such
        proceeding.

18.     Within 7 calendar days after the conclusion of the mediation, the Mediator
        shall file a report (the “Mediator’s Report”) in the Remaining Avoidance
        Action, which shall be limited to stating only whether the Remaining
        Avoidance Action settled or did not settle.

19.     All mediations of the Remaining Avoidance Actions must be concluded by
        August 31, 2024.

20.     Should mediation fail to resolve a Remaining Avoidance Action, pursuant
        to Federal Rule of Civil Procedure 26(a)(2), made applicable herein
        pursuant to Bankruptcy Rule 7026, disclosures and reports of a) the parties
        for any issue on which they bear the burden of proof (including any report
        by Plaintiff on insolvency solely to the extent Plaintiff is still pursuing a
        section 548 count after the completion of mediation) and b) if Defendant
        intends to provide expert testimony regarding insolvency of the Debtors,
        such expert report, if any, shall be made to the adverse party within 45 days
        after the Mediator’s Report is filed.

21.     Pursuant to Federal Rule of Civil Procedure 26(a)(2), made applicable
        herein pursuant to Bankruptcy Rule 7026, disclosures and reports of a) the
        parties’ rebuttal experts, and b) to the extent Plaintiff is not pursuing a
        section 548 count after mediation, Plaintiff’s report on the insolvency of the
        Debtors, if any, shall be made to the adverse party within 75 days after the
        Mediator’s Report is filed.



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     22.     All fact and expert discovery, including fact and expert witness depositions,
             shall be concluded within the later of (i) 120 days after the Mediator’s
             Report is filed or (ii) December 31, 2024.

     23.     The standard provisions of Federal Rule of Civil Procedure 26(e), made
             applicable herein pursuant to Bankruptcy Rule 7026, shall apply to the
             Avoidance Actions with respect to supplementation of discovery responses.

     24.     All dispositive motions shall be filed and served by January 31, 2025. The
             Local Rules governing dispositive motions in adversary proceedings,
             including Local Rules 7007-1 – 7007-4, shall apply.

F.   Mediation Procedures and Requirements

     25.     Because the Remaining Avoidance Actions are proceedings before this
             Court, Delaware is the proper forum for mediation. Local Rule 9019-5 and
             the Court’s mediation order, Delaware Bankruptcy Court General Order re
             Procedures in Adversary Proceedings, dated April 7, 2004, as amended
             April 11, 2005 (establishing mediation procedures for all adversary
             proceedings), shall govern the mediations, except as otherwise set forth
             herein.

     26.     The Mediators shall be required to file disclosures prior to the scheduling
             of mediation. Local Rule 9019-2(e)(iii)(B) shall apply.

     27.     The parties in each Remaining Avoidance Action will participate in the
             mediation, as scheduled and presided over by the chosen Mediator, in good
             faith and with a view toward reaching a consensual resolution. At least one
             counsel for each party and a representative of each party having full
             settlement authority shall attend the mediation in person except that the
             parties may by consent and with the Mediator’s approval agree to appear by
             video conference, and further, that the Mediator, in his or her sole
             discretion, by request of one of the parties, may allow a party representative
             to appear via video while its counsel appears in person, and except where
             the parties otherwise agree. Any such request must be made prior to ten
             (10) business days before the scheduled mediation date, or Defendant
             is deemed to waive such request. Should a party representative appear via
             video while counsel is in person, counsel appearing in person for that party
             shall have full settlement authority. Should a dispute arise regarding a
             Mediator’s decision on whether to allow a party representative to appear via
             video rather than in person, a party may apply to the Court, in advance of
             the mediation, by sending a letter outlining said issues to chambers. The
             Court may then schedule a conference call to address the issues.

     28.     The Mediator will preside over the mediation with full authority to
             determine the nature and order of the parties’ presentations, and the rules of
             evidence will not apply. Each Mediator may implement additional
             procedures which are reasonable and practical under the circumstances.


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29.     The Mediator, in the Mediation Notice (by language provided to Plaintiff
        by the Mediator) or in a separate notice that need not be filed, may require
        the parties to provide to the Mediator any relevant papers and exhibits, a
        statement of position, and a settlement proposal. In the Mediator’s
        discretion, upon notice (which need not be filed), the Mediator may adjourn
        a mediation or move a mediation to a different location within the same
        jurisdiction. The Mediator may also continue a mediation that has been
        commenced if the Mediator determines that a continuation is in the best
        interest of the parties.

30.     The parties must participate in the scheduling of mediation and mediate in
        good faith. If the mediator feels that a party to the mediation is not
        attempting to schedule or resolve the mediation in good faith, the mediator
        may file a report with the Court. The Court may, without need for further
        motion by any party, schedule a hearing. If the Court determines that the
        party is not cooperating in good faith with the mediation procedures, the
        Court may consider the imposition of sanctions. Additionally, if either party
        to the mediation is not attempting to schedule or resolve the mediation in
        good faith, the opposite party may file a motion for sanctions with the Court.
        Litigation with respect to the issuance of sanctions shall not delay the
        commencement of the mediation. Sanctions may include, but are not limited
        to, attorney’s fees and costs and Mediator’s fees.

31.     Upon notice and a hearing, a party’s failure to appear at the mediation or
        otherwise comply with the Procedures Order with respect to mediation, may
        result in a default judgment or dismissal being obtained against the party
        failing to comply with the mediation provisions. The Mediator shall
        promptly file a notice with the Court when any party fails to comply with
        the mediation provisions set forth in the Procedures Order.

32.     The fees of the Mediator shall be paid by the Plaintiff on a per case basis.
        The Mediator’s fees shall be fixed as follows:

        (a)    cases with a claim amount (as reflected in the complaint) of less than
               $250,000: $3,000.00 per case;

        (b)    cases with a claim amount (as reflected in the complaint) equal to or
               greater than $250,000 and less than $1,000,000: $4,000 per case;
               and

        (c)    cases with a claim amount (as reflected in the complaint) equal to or
               greater than $1,000,000: $6,000 per case.

33.     In addition to the fixed fee, the Plaintiff shall pay the Mediator a $250.00
        administrative fee (the “Administrative Fee”) upon acceptance of
        appointment.




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34.     Mediation that is continued for more than one calendar day will be
        continued on an hourly fee basis at the rate of $500.00 per hour to be paid
        by the Plaintiff.

35.     Defendants that have multiple Avoidance Actions in the underlying
        bankruptcy cases against them may mediate all related Avoidance Actions
        at one time. The Mediator’s fees will be based upon the combined total
        claim amount for all related Avoidance Actions.

36.     Mediation statements are due seven (7) calendar days prior to the mediation
        to the Mediator. Unless otherwise directed by the Mediator, the mediation
        statements shall be shared with the opposing party, except that any party
        that has confidential information may share the same solely with the
        Mediator. The Mediator will direct the parties as to further instructions
        regarding the mediation statements.

37.     Without the prior consent of both parties, no Mediator shall mediate a case
        in which he/she or his/her law firm represents a party. If a Mediator’s law
        firm represents any Defendant in the Avoidance Actions, then: (a) the
        Mediator shall not personally participate in the representation of that
        Defendant; (b) the law firm shall notate the file to indicate that the Mediator
        shall have no access to it; and (c) any discussions concerning the particular
        Avoidance Action by employees of the law firm shall exclude the Mediator.
        The Mediator’s participation in mediation pursuant to the Procedures Order
        shall not create a conflict of interest with respect to the representation of
        such Defendants by the Mediator’s law firm.

38.     The Mediator shall not be called as a witness by any party except as set forth
        in this paragraph. No party shall attempt to compel the testimony of, or
        compel the production of documents from, the Mediators or the agents,
        partners or employees of their respective law firms. Neither the Mediators
        nor their respective agents, partners, law firms or employees (a) are
        necessary parties in any proceeding relating to the mediation or the subject
        matter of the mediation, nor (b) shall be liable to any party for any act or
        omission in connection with any mediation conducted under the Procedures
        Order. Any documents provided to the Mediator by the parties shall be
        destroyed 30 days after the filing of the Mediator’s Report, unless the
        Mediator is otherwise ordered by the Court. However, subject to court
        order, a Mediator may be called as witness by any party and may be
        compelled to testify on a limited basis in proceedings where it is alleged
        that a party failed to comply with mediation as is required in the foregoing
        paragraphs of this Procedures Order. Local Rule 9019-5(d) shall apply.

39.     All proceedings and writings incident to the mediation shall be privileged
        and confidential, and shall not be reported or placed in evidence. Local Rule
        9019-5(d) shall apply.



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  G.     Avoidance Action Hearings

         40.     The initial pretrial conference scheduled for November 16, 2023 at 3:00
                 p.m. (ET) shall be deemed waived. Thereafter, except as otherwise ordered
                 by the Court, the pretrial conference shall be adjourned to future date(s), if
                 any, as properly noticed.

         41.     If, after all discovery has been completed in an Avoidance Action and
                 mediation has concluded but was not successful, and any issues of fact or
                 law remain after dispositive motions, if any, have been decided, the parties
                 to the applicable Avoidance Action shall so inform the Court. At the next
                 scheduled omnibus hearing or at such other date convenient to the Court,
                 the Court will address additional issues arising subsequent to the Procedures
                 Order, set additional deadlines, if necessary, establish a due date by which
                 the parties must file a joint pretrial order, and schedule a trial on the
                 Avoidance Action that is convenient to the Court’s calendar.

  H.     Miscellaneous

         42.     The Local Rules for the United States Bankruptcy Court for the District of
                 Delaware shall apply, except that the Procedures Order shall control with
                 respect to the Avoidance Actions to the extent of any conflict with other
                 applicable rules and orders.

         43.     The deadlines and/or provisions contained in the Procedures Order may be
                 extended and/or modified by the Court upon written motion and for good
                 cause shown or consent of the parties pursuant to stipulation, which
                 stipulation needs to be filed with the Court; and it is further

         ORDERED, that this Court retains jurisdiction with respect to all matters arising

  from or related to the implementation of this Order.




Dated: November 8th, 2023                       CRAIG T. GOLDBLATT
Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE




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        Exhibit “2”
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Defendant Name                                                         Adversary No.
3 Bridge Solutions LLC                                                 23-50494
3M Company                                                             23-50495
4X Commerce LLC dba MyFBAPrep                                          23-50583
Abel Womack, Inc.                                                      23-50497
Amazon Web Services, Inc.                                              23-50500
American International Services Limited Liability Company              23-50501
AmerisourceBergen Drug Corporation dba H.D. Smith                      23-50502
Bausch Health US, LLC                                                  23-50506
Bayer Healthcare LLC                                                   23-50507
Beyond Technologies Consulting (USA) Inc.                              23-50508
Brecham Group, LLC                                                     23-50510
CarbonKlean, LLC                                                       23-50512
CCA Financial, LLC                                                     23-50513
ChannelAdvisor Corporation                                             23-50515
Combe Incorporated                                                     23-50516
Cosmopolitan Cosmetics, Inc.                                           23-50521
Data Sales Co., Inc.                                                   23-50523
EmblemHealth Plan, Inc.                                                23-50525
GSK Consumer Healthcare Services Inc.                                  23-50529
Infosys BPM Limited                                                    23-50531
Infosys Limited                                                        23-50532
Intuit Investigative Resources Inc.                                    23-50533
Johnson & Johnson Consumer Inc.                                        23-50534
Kepler Group LLC                                                       23-50536
Korber Supply Chain US, Inc. dba HighJump                              23-50537
Kyocera Document Solutions New York Metro, Inc. fdba Duplitron, Inc.   23-50538
L'Oreal USA, Inc. dba L'Oreal Active Cosmetics                         23-50541
L'Oreal USA, Inc. dba L'Oreal Consumer Products Division               23-50542
Maesa Holdings Inc. dba Kristin ESS                                    23-50543
McGinley Adhesive Distribution Services, Inc.                          23-50545
Montclair Kimberley Academy                                            23-50546
MTBC, LTD. dba TBC Enterprises                                         23-50547
Nature's Answer, Inc.                                                  23-50549
Peter Marcus Paradigm LLC dba Goodwipes                                23-50552
Platinum Equity, LLC dba L&R Distributors Inc.                         23-50554
Prime Packaging Corp.                                                  23-50555
PSI Systems, Inc. dba Endicia                                          23-50557
Randstad US, LLC                                                       23-50559
Raymond Handling Solutions, Inc.                                       23-50560
Sage Capital Investments LLC                                           23-50564
Sel Beauty, Inc.                                                       23-50566
Sheralven Enterprises Ltd.                                             23-50568
TForce Freight, Inc. dba UPS Freight                                   23-50570
The Nature's Bounty Co. dba Active Nutrition                           23-50572
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 TIGI Linea Corp.                                                         23-50573
 United Parcel Service, Inc.                                              23-50577
 United Parcel Service of America, Inc. dba UPS Mail Innovations          23-50576
 Wrap-N-Pack, Inc. fdba SupplyOne Long Island, Inc.                       23-50581


* 48 Adversary Proceedings
